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12
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13

14                                  UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                        SAN FRANCISCO DIVISION
17

18    EITAN ADLER, on behalf of himself and all          Case No. 3:23-CV-01788-JD
      others similarly situated,
19                                                        STIPULATION REGARDING
                             Plaintiff,                   DEFENDANTS’ RESPONSIVE
20                                                        PLEADING DEADLINE
                       vs.
21                                                        [PROPOSED] ORDER
      TWITTER, INC. and X CORP.,
22
                             Defendants.
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                                                                        STIPULATION REGARDING
                                                               DEFENDANTS’ RESPONSIVE PLEADING
                                                                    DEADLINE; [PROPOSED] ORDER
                                                                         CASE NO. 3:23-cv-01788-JD
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 6
      Attorneys for Plaintiff
 7
      EITAN ADLER
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                                                               STIPULATION REGARDING
                                                      DEFENDANTS’ RESPONSIVE PLEADING
                                                           DEADLINE; [PROPOSED] ORDER
                                                                CASE NO. 3:23-cv-01788-JD
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 1             Plaintiff Eitan Adler (“Plaintiff”) and Defendants Twitter, Inc. and X Corp. (“Defendant”)

 2    (collectively, the “Parties”), by and through their undersigned counsel, hereby stipulate as

 3    follows:

 4             WHEREAS, on May 12, 2023, Defendants Twitter, Inc. and X Corp. (collectively referred

 5    to as “Twitter”) filed a Motion to Compel Arbitration and Dismiss Class and Individual PAGA

 6    Claims (the “Motion”) (ECF No. 14);

 7             WHEREAS, on June 2, 2023, Plaintiff filed an Opposition to the Motion (ECF No. 20);

 8             WHEREAS, on June 15, 2023, Twitter filed and served a Notice of Withdrawal of the

 9    Motion to Compel (ECF No. 21);

10             WHEREAS, the Parties have conferred and agreed that Twitter’s responsive pleading

11    deadline shall be June 30, 2023.

12             NOW THEREFORE, the Parties hereby stipulate, subject to the Court’s approval, that

13    Defendants Twitter Inc. and X. Corp’s deadline to respond to Plaintiff Eitan Adler’s Complaint

14    will be June 30, 2023.

15

16    Dated: June 16, 2023                                 MORGAN, LEWIS & BOCKIUS LLP

17                                                         By    /s/ Eric Meckley
18                                                              Eric Meckley
                                                                Brian D. Berry
19                                                              Ashlee N. Cherry
                                                                Kassia Stephenson
20                                                              Attorneys for Defendants
                                                                TWITTER, INC. and X CORP.
21

22    Dated: June 16, 2023                                 LICHTEN & LISS-RIORDAN, P.C.

23                                                         By    /s/ Shannon Liss-Riordan
24                                                              Shannon Liss-Riordan
                                                                Bradley Manewith
25                                                              Attorneys for Plaintiff
                                                                EITAN ADLER
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28                                                                   STIPULATION REGARDING TWITTER’S
                                                                       RESPONSIVE PLEADING DEADLINE;
                                                       1
                                                                                    [PROPOSED] ORDER
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 1                                         FILER’S ATTESTATION

 2             Pursuant to Local Rule 5-1(h)(3) regarding signatures, I attest that all other signatories

 3    listed, and on whose behalf this filing is submitted, concur in the document’s content, and have

 4    authorized the filing.

 5

 6    Dated: June 16, 2023                                   MORGAN, LEWIS & BOCKIUS LLP

 7

 8                                                           By     /s/ Eric Meckley
                                                                  Eric Meckley
 9                                                                Brian D. Berry
                                                                  Ashlee N. Cherry
10                                                                Kassia Stephenson
                                                                  Attorneys for Defendants
11                                                                TWITTER, INC. and X CORP.
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28                                                                    STIPULATION REGARDING TWITTER’S
                                                                        RESPONSIVE PLEADING DEADLINE;
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                                                                                     [PROPOSED] ORDER
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 1                                          [PROPOSED] ORDER

 2             Having considered the Parties’ Stipulation Regarding Twitter’s Responsive Pleading

 3    Deadline, and good cause appearing, it is hereby ORDERED that:

 4             Defendants Twitter Inc. and X. Corp’s deadline to respond to Plaintiff Eitan Adler’s

 5    Complaint is June 30, 2023.

 6             IT IS SO ORDERED.

 7

 8            June 23, 2023
      Dated: _____________________
                                                            Hon. James Donato
 9                                                          United States District Judge
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28                                                                    STIPULATION REGARDING TWITTER’S
                                                                        RESPONSIVE PLEADING DEADLINE;
                                                        3                            [PROPOSED] ORDER
                                                                                CASE NO. 3:23-CV-01788-JD
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